
IN this cause, which was a bill for specific execution of an agreement to purchase land, and which was heard the 15 day of may, 1794, the court, for reasons similar to those explained in the case between Rose and Nicholas, refused to subject the land to sale for payment of thetpurchase money.*

[*The Court of Appeals say, 2 Wash. 141-3, that the only question was, whether the vendor of land sold and in possession of the vendee, but not conveyed, has a lien upon it, so as to secure the payment of the purchase money. They held, that the appellant Cole, not having conveyed the land, nor taken any security for the balance of his purchase money, hath a lien upon the lands in the hands ofthe appellee for satisfaction of such balance. Chancellor’s decree dismissing the bill reversed. See King v. Hanson, 4 Call, 259. — Ed.j

